                          Case 4:20-cr-00028-KGB Document 27 Filed 06/24/22 Page 1 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I
                                                                                                                 EAS
                                             UNITED STATES DISTRICT COURT                                                 JUN 2 4 2022
                                                            Eastern District of Arkansas                         TAMMY H. D O W N S ~
               UNITED STA TES OF AMERICA                                  ~          JUDGMENT IN A~MINAL C A S ~
                                   v.                                     )
                    SHERRI LYNN TIDWELL                                   )
                                                                          )          Case Number: 4:20-cr-00028 KGB
                                                                          )          USM Number: 331480-009
                                                                          )
                                                                          )           DEGAN CLOW
                                                                          )          Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)            11
                                    -----------------------------------
□   pleaded nolo contendere to count(s)
    which was accepted by the court.
D was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended                Count
18 U.S.C. § 1344(2)               Bank Fraud, a Class B Felony                                               4/6/2017                11




       The defendant is sentenced as provided in pages 2 through            7
                                                                         - - - - of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
ilCount(s)        1-10 and 12-27                        D   is    ii are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                            6/23/2022
                                                                         Date of Imposition of Judgment



                                                                                ~l'1}u )J •p,JkA_.
                                                                         Signature




                                                                          Kristine G. Baker, United States District Judge
                                                                         Name and Title of Judge



                                                                         Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                     Judgment- Page   -=2-   of   7
 DEFENDANT: SHERRI LYNN TIDWELL
 CASE NUMBER: 4:20-cr-00028 KGB

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  12 months and one ( 1) day.




      ~ The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends the defendant participate in mental health counseling and educational and vocational
        programs during incarceration. The Court further recommends the defendant be incarcerated in a facility close to
        Central Arkansas.



      D    The defendant is remanded to the custody of the United States Marshal.

      D    The defendant shall surrender to the United States Marshal for this district:

           D at      _________                     D a.m.      D p.m.       on

           D   as notified by the United States Marshal.

      ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ~ before 2 p.m. on          7/25/2022
           D   as notified by the United States Marshal.

           D   as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                           By----------~----------
                                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                         Judgment-Page     3      of _ _7__
DEFENDANT: SHERRI LYNN TIDWELL
CASE NUMBER: 4:20-cr-00028 KGB
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 Five (5) years.




                                                    MANDATORY CONDITIONS
l.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 D The above drug testing condition is suspended, based on the court's determination that you
                     pose a low risk of future substance abuse. (check ifapplicable)
4.     liZI" You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (check if applicable)
5.     Iii" You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.     D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page         4
                                                                                                                 ----- 0
                                                                                                                              r   ------
                                                                                                                                         1
DEFENDANT: SHERRI LYNN TIDWELL
CASE NUMBER: 4:20-cr-00028 KGB

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware ofa change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. lfnotifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the spe"Cific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at, www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 ------------
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                       Judgment in a Criminal Case
                       Sheet 3D - Supervised Release
                                                                                           Judgment-Page    5     of   -~7_ _
DEFENDANT: SHERRI LYNN TIDWELL
CASE NUMBER: 4:20-cr-00028 KGB

                                         SPECIAL CONDITIONS OF SUPERVISION
 The defendant must participate, under the guidance and supervision of the probation office, in a mental health treatment
 program. She shall pay for the cost of treatment at the rate of $10 per session, with the total cost not to exceed $40 per
 month, based on ability to pay as determined by the probation office. If she is financially unable to pay for the cost of
 treatment, the co-pay requirement will be waived.

 The defendant must provide the probation officer with access to any requested financial information (including unexpected
 financial gains) and authorize the release of any financial information. The probation office may share financial information
 with the United States Attorney's Office.

 The defendant must not incur new credit charges or open additional lines of credit without the approval of the probation
 officer unless all criminal penalties have been satisfied.

 The defendant must not engage in an occupation, business, profession, or volunteer activity that would require or enable
 her to manage finances without the prior approval of the probation officer.
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AO 245B (Rev. 09/19)   Judgment in a Criminal c~
                       Sheet S - Criminal Monetary Penalties
                                                                                                          Judgment- Page   -~6-     of       7
 DEFENDANT: SHERRI LYNN TIDWELL
 CASE NUMBER: 4:20-cr-00028 KGB
                                               CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment             Restitution                                            AVAA Assessment*           JVTA Assessment**
 TOTALS             S 100.00                S 277,766.78              s                         s                          s

 D     The determination of restitution is deferred until
                                                          ----
                                                               . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless s~ified otherwise in
       the prioricy order or percentage payment column below. However, pursuant to 18U.S.C. § 3664(1), all nonfederal victims must be paid
       before the United States is paid.           ·

 Name of Payee                                                 Total Loss***                    Restitution Ordered        Priority or Percentage
  Lieblong Eye Care Clinic                                                 $277,766.78                   $277,766.78

  123 N. Van Buren Street

  Little Rock, Arkansas 72205




 TOTALS                               $                 277,766.78               $        277,766.78
                                                                                     ----------


 Ill    Restitution amount orde~d pursuant to plea agreement $ _2_7_7~,_7_66_._7_8_ _ _ __

 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 Ill    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        Ill   the interest requirement is waived for the       D    fine   Ill   restitution.

        D the interest requirement for the          D fine         D restitution is modified as follows:

 • Amy, Vicky, and Andv Child Pomograph_y Victim Assistance Act of 2018, Pub. L. No. 115-299.
 •• Justice for Victims of Trafficking A.ct of2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, l IOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
AO 24S8 (Rev. 09/19)
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                       Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                         Judgment- Page    -~Z-      of       7
 DEFENDANT: SHERRI LYNN TIDWELL
 CASE NUMBER: 4:20-cr-00028 KGB

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~    Lump sum payment of$ _1~0~0~.0~0~--- due immediately, balance due

            D     not later than                                  , or
            D     in accordance with D C,           D D,      D E,or        Ill   F below; or

 B     D Payment to begin immediately (may be combined with               D C,        ·□ D, or     D F below); or
 C     D Payment in equal    _____ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
           _ _ _ _ _ (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal    _____ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
           _ _ _ _ _ (e.g.• months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     □    Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     liZI Special instructions regarding the payment of criminal monetary penalties:
             During incarceration payments will be 50 percent of all funds that are available to the defendant. During
             residential re-entry placement, payments will be ten percent of the defendant's gross monthly income. Beginning
             the first month of supervised release, payments will be ten percent per month of the defendant's monthly gross
             income per month.


 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone!_ary penalties is due during
 the period of imprisonment. All criminal mone~ ~naHies, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                 Joint and Several              Co~sponding_ Payee,
       (including defendant number)                       Total Amount                      Amount                        1f appropnate




 D     The defendant shall pay the cost of prosecutid'n.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Pa}'!!lents shall be aJ?plied in the following order: (I) assessment, (2) restitution princ!J?al, (3) restitution interest, (4) AVAA assessment,
 (SJ fine princi~I, (6) fine interest, (7) community restitution, (8) NTA assessment, ('J) penalties, and (IO) costs, mcluding cost of
 prosecution and court costs.                     ··
